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                                          U.S. Department of Justice
[Type text]
                                                      United States Attorney
                                                      Southern District of New York

                                                      The Silvio J. Mollo Building
                                                      One Saint Andrew’s Plaza
                                                      New York, New York 10007


                                                      August 31, 2018




Via ECF
The Honorable Andrew L. Carter, Jr.
United States District Judge
Southern District of New York
United State Courthouse
40 Foley Square, Courtroom 1306
New York, New York 10007

       Re:     United States v. Ali Sadr Hashemi Nejad, 18 Cr. 224 (ALC)

Dear Judge Carter:

                The Government respectfully writes in response to the defendant’s August 27, 2018
letter. Though we disagree with several of the defendant’s assertions in that letter, we nevertheless,
in an abundance of caution, consent to the proposed three-week hiatus to allow the defense to
complete its review of potentially privileged materials. Specifically, the Government agrees that
the prosecution team will refrain from reviewing or disseminating any discovery materials in this
case for three weeks from today. However, the Court should allow the Government’s taint team
(which is principally comprised of lawyers and paralegals at the New York County District
Attorney’s Office) and information-technology staff continued access to all discovery materials so
that they can further analyze the assertions in the defendant’s letter and take any appropriate
actions to address them. The Government proposes that the parties update the Court by letter on
September 21, 2018, at which time the Government will be in a better position to respond to the
allegations in the defendant’s August 27 letter.
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               In addition, while the Government will endeavor to produce in a different format
certain discovery materials that the defendant asserts are not searchable, the Government
respectfully submits that that issue should not affect the timing or duration of the requested hiatus
in the Government’s access to discovery. Rather, the parties and the Court can assess the need for
any further pause in the Government’s access to discovery materials once the three-week time
period has elapsed and the issues have been further briefed.




                                                        Respectfully submitted,
                                                        GEOFFREY S. BERMAN
                                                        United States Attorney


                                                  by:         /s/
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CC: Defense Counsel (via ECF)
